Case 2:16-cv-14050-MAG-RSW ECF No. 348 filed 03/15/19                     PageID.41433       Page 1 of 4


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

                  Plaintiff,
                                                                Case No. 16-cv-14050
  v.
                                                                HON. MARK A. GOLDSMITH
  QUICKEN LOANS, INC.,

              Defendant.
  _____________________________________/

       ORDER FOR SUBMISSION OF PROPOSED JOINT FINAL PRETRIAL ORDER,
         PROPOSED JURY INSTRUCTIONS, AND OTHER TRIAL MATERIALS

          The parties shall abide by the following requirements regarding trial materials:

       1. The proposed joint final pretrial order (JFPO) must be submitted to chambers in hard copy
          and through the document utilities feature of CM/ECF no later than May 22, 2019.

       2. In lieu of the requirements set out in E.D. Mich. LR 16.2(b), the Court imposes the
          following requirements:

              a. The proposed JFPO shall not be a vehicle for adding claims or defenses.

              b. Counsel for all parties are directed to confer in person (face-to-face) sufficiently in
                 advance of the scheduled conference date in order to reach any possible stipulations
                 narrowing the issues of law and fact and to discuss non-stipulated issues. It shall
                 be the duty of Plaintiff’s counsel to initiate that meeting and the duty of opposing
                 counsel to respond to Plaintiff’s counsel and to offer full cooperation and
                 assistance. If, after reasonable effort, any party cannot obtain the cooperation of
                 opposing counsel, it shall be counsel’s duty to communicate with the Court.

              c. Plaintiff’s counsel is responsible for submitting the proposed JFPO to chambers
                 after receiving proposed language from opposing counsel and reconciling the
                 parties’ respective positions.

              d. If there are any pending motions requiring determination in advance of trial, they
                 should be called to the Court’s attention not later than the date of submission of the
                 proposed JFPO.

              e. The proposed JFPO must provide for the signature of the Court, which, when
                 signed, will become the order of the Court.

              f. The proposed JFPO shall contain the following:
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Case 2:16-cv-14050-MAG-RSW ECF No. 348 filed 03/15/19                  PageID.41434         Page 2 of 4



                 i. Jurisdiction: The parties shall state the basis for federal court jurisdiction
                    and whether jurisdiction is contested by any party.

                ii. Trial: The parties shall state whether the case will be tried to a jury or to the
                    Court, and the estimated length of trial in terms of number of half-days (8:30
                    a.m. to 1:00 p.m.).

                iii. Statement of Claims and Defenses: Each claim for affirmative relief must
                     be separately stated. As to each claim, the proposed JFPO must state: (i)
                     the elements of the claim; (ii) the principal facts in support of the claim,
                     both as to liability and damages, indicating whether the fact is contested or
                     uncontested; (iii) the controlling or most appropriate legal authority in
                     support of every element of the claim; (iv) the elements of every defense to
                     the claim; (v) the principal facts in support of the defense, both as to liability
                     and damages, indicating whether the fact is contested or uncontested; (vi)
                     the controlling or most appropriate legal authority in support of every
                     element of the defense; and (vii) each party’s calculation of damages.

                iv. Lay Witnesses: The parties shall set forth the name, address, and telephone
                    number of every lay witness whom each party will call or may call to testify,
                    including rebuttal witnesses unless the rebuttal witnesses’ testimony could
                    not be reasonably anticipated before trial. Absent good cause, only those
                    witnesses who are listed will be permitted to testify. Generic categories of
                    witnesses are not permitted. The subject matter of every witness’
                    testimony shall be set forth with particularity, indicating the specific
                    factual issues about which the witness will testify.

                v. Expert Witnesses: The parties shall set forth the name, address, telephone
                   number, and area of expertise of every expert witness whom each party will
                   call or may call to testify, including rebuttal expert witnesses unless the
                   rebuttal witnesses’ testimony could not be reasonably anticipated before
                   trial. Absent good cause, only those witnesses who are listed will be
                   permitted to testify. In addition, the expert’s opinions must be set forth
                   with particularity. Incorporation by reference of a deposition
                   transcript is not sufficient.

                vi. All Witnesses: Only witnesses listed in the proposed JFPO will be
                    permitted to testify at trial, except for rebuttal witnesses whose testimony
                    could not be reasonably anticipated before trial, or except for good cause
                    shown.

               vii. Depositions: All de bene esse depositions to be used at trial shall be listed.
                    Unless a prior order sets an earlier date, all such depositions, both as to lay
                    and expert witnesses, must be concluded no later than 21 days before the
                    due date for motions in limine. A party who intends to present at trial a de
                    bene esse deposition must provide to the opposing party a copy of the
                    deposition, indicating the specific pages and lines to be presented, at least
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Case 2:16-cv-14050-MAG-RSW ECF No. 348 filed 03/15/19                 PageID.41435        Page 3 of 4


                    14 days before the due date for filing motions in limine. The parties shall
                    confer as to any objections. If not resolved, objections must be set forth in
                    a motion filed not later than the due date for motions in limine, which
                    motion shall be allowed in addition to the one motion in limine permitted
                    each party. Any such motion and response may not exceed 25 pages. No
                    such motion may be used to raise an issue regarding expert testimony that
                    should have been the subject of an earlier and timely motion to limit or
                    exclude expert testimony. The proposed JFPO must indicate whether any
                    motion regarding objections to depositions is pending. Any objection to a
                    de bene esse deposition not made the subject of a timely motion shall be
                    deemed waived.

               viii. Exhibits:

                        A. Proposed exhibits must be exchanged by the parties at least 14 days
                           before the due date for filing motions in limine. The parties shall
                           confer as to any objections. If not resolved, objections must be set
                           forth in a motion filed not later than the due date for motions in
                           limine, which motion shall be allowed in addition to the one motion
                           in limine permitted each party. Any such motion and response may
                           not exceed 25 pages. The motion must attach the proposed exhibits
                           to which objections are made. The JFPO must indicate whether any
                           such motion is pending. Any objection to a proposed exhibit not
                           made the subject of a timely motion shall be deemed waived.

                        B. The parties shall include in the proposed JFPO a list of all exhibits
                           that each party will or may offer in evidence using a numbering
                           and/or lettering system that will allow identification of the offering
                           party. The list must set forth the exhibit number or letter, date,
                           description of document , and whether it is subject to an objection
                           set forth in a timely filed motion. Absent good cause, only those
                           exhibits that have been listed in the proposed JFPO may be offered
                           into evidence, except for rebuttal exhibits that could not be
                           reasonably anticipated before trial.

                        C. A separate binder containing each party's full set of proposed
                           exhibits, displaying exhibit numbers or letters, must be submitted to
                           the Court by each party at least two business days before the first
                           day of trial. The outside cover and spine of each binder must
                           identify the case, case number, and party offering the exhibits.
                           Counsel are required to keep track and maintain custody of all
                           admitted exhibits during trial. The parties must also submit with the
                           binders a single exhibit list, identifying separately each party's
                           exhibits, and setting forth the exhibit number or letter, date,
                           description of document, a one-half inch column marked
                           “Admitted?” and a two-inch column marked "Notes."

                ix. Evidentiary Issues: The parties shall identify any evidentiary issues likely
                    to arise at trial that are not the subject of a pending motion. The parties shall
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Case 2:16-cv-14050-MAG-RSW ECF No. 348 filed 03/15/19                   PageID.41436        Page 4 of 4


                       also set forth the claimed good cause for why these evidentiary issues were
                       not the subject of a timely motion in limine.

            g. Other items to be submitted at the same time as the JFPO:

                    i. Jury Instructions/Verdict Form: At the time the proposed JFPO is submitted
                       to chambers, the parties shall file on the docket a joint set of agreed
                       instructions. They shall also file a joint document regarding instructions as
                       to which there is no stipulation. The latter document must contain a
                       certification by counsel for each party that a concerted, good faith effort was
                       undertaken to narrow the areas of dispute and attempt to reach agreement.
                       It shall contain a separate section for disputed instructions proposed by each
                       party (which instructions shall be attached as exhibits). As to each
                       instruction, there shall be a statement by each party, not exceeding two
                       pages , setting forth that party’s arguments and authorities in support of or
                       opposition to the instruction. The parties shall also file a proposed stipulated
                       verdict form if stipulation can be reached; if not, the same procedures set
                       forth above for disputed jury instructions shall apply to any disputes
                       regarding the verdict form. The instructions and verdict form shall be in
                       Word format.

                   ii. Statement of Claims and Defenses to be Read to Potential Jurors: Counsel
                       shall submit a stipulated statement that the Court may utilize in explaining
                       the general nature of the case to potential jurors during voir dire. The
                       statement must be entirely neutral and may not exceed 100 words.

                  iii. Voir Dire: A list of agreed-upon and disputed voir dire questions must be
                       jointly submitted to chambers in hard copy at the same time as the JFPO.
                       For each disputed voir dire question, the parties shall set forth their
                       respective arguments/authority against/in favor of the question.

            h. For failure to cooperate in preparing or submitting the joint final pretrial order or
               failure to comply strictly with the terms of the joint final pretrial order, the Court
               may dismiss claims, enter default judgment, refuse to permit witnesses to testify or
               to admit exhibits, assess costs and expenses, including attorney fees, or impose
               other appropriate sanctions.

        SO ORDERED.

  Dated: March 15, 2019                                s/Mark A. Goldsmith
         Detroit, Michigan                             MARK A. GOLDSMITH
                                                       United States District Judge




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